     Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 1 of 22




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION


UNITED STATES OF AMERICA                    :
                                            :     CRIMINAL INDICTMENT
v.                                          :     NO.: 2:12-CR-028-RWS-JCF
                                            :
SEAN KING                                   :


                   REPORT AND RECOMMENDATION

      This case is before the Court on Defendant King’s Motion to Suppress

Evidence Seized Pursuant to a Warrantless Search (Doc. 64), seeking to suppress

items seized by Federal Bureau of Investigation (“FBI”) agents from Defendant’s

residence on August 16, 2012.     Because the agents were authorized to enter

Defendant’s residence, where they observed the incriminating items in question in

plain view, it is RECOMMENDED that Defendant’s motion to suppress be

DENIED.

                                  Background

      A Criminal Complaint filed August 15, 2012 (Doc. 1) alleged the following:

      On or about July 18 and 19, 2012 in Fulton and White Counties,
      [Defendants King, Larry McDaniel, and Howard Brown] aided and
      abetted by each other and others unknown, did corruptly endeavor to
      influence, obstruct and impede the due and proper administration of
      the law under which a proceeding was pending before the [FBI], that
      is, the defendants influenced, obstructed and impeded, and did attempt
                                        1
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 2 of 22




      to do so, an undercover investigation being conducted by Special
      Agents of the [FBI] in which D.S. was acting as a confidential
      informant and in which D.S. was engaging in undercover tape
      recorded conversations with targets of the investigation about possible
      violations of federal law, by advising targets of the investigation and
      other that the defendants had in their possession information that D.S.
      was cooperating with the FBI as an informant[.]

Defendant King was arrested on August 16, 2012 on an arrest warrant issued on

the criminal complaint.     (See Doc. 26).     Count One of an Indictment filed

September 4, 2012 (Doc. 39) charges Defendant King, along with co-defendants

McDaniel and Brown, with obstructing and impeding “the due and proper

administration of the law under which a proceeding was pending before the

Federal Bureau of Investigation, an agency of the United States,” by influencing,

obstructing, and impeding, and attempting to influence, obstruct, and impede, “an

investigation being conducted by Special Agents of the Federal Bureau of

Investigation in which D.B.S. was acting as a confidential informant,” in violation

of 18 U.S.C. § 1505 and 18 U.S.C. § 2 (aiding and abetting statute).1 The charges

in this case, along with several other cases pending in this Court, arise from an FBI

investigation into the alleged criminal activities of members of the “Outlaw



1
  In a Report and Recommendation dated January 29, 2013 (Doc. 110), the
undersigned has recommended that Defendants’ motion to dismiss Count One be
granted. The District Judge has not ruled on those motions, and therefore Count
One remains pending.
                                         2
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 3 of 22




Motorcycle Club” (“OMC”) and affiliated clubs, described by the Government as

follows:

      The FBI, through the use of an undercover agent and cooperating
      individuals, developed evidence that members and persons associated
      with the OMC and its affiliates were involved in illegal drug and
      firearms trafficking which led to multiple indictments.
              Brad Smith [“Smith”], the then-President of the Black Pistons
      Motorcycle Club’s Cleveland, Georgia chapter, an OMC-affiliated
      gang, was working as an FBI confidential informant. Smith
      introduced an undercover law enforcement officer [“Griff” or
      “Griffin”] to the motorcycle gang community in North Georgia. Griff
      posed as Smith’s long-time friend and a big time drug dealer from
      Florida who was looking to expand his drug trafficking business into
      North Georgia and Tennessee. The FBI’s investigation included using
      Smith and Griff to record conversations with targets concerning their
      criminal activities; Griff purchasing and attempting to purchase illegal
      drugs, including methamphetamine, marijuana and LSD; and Griff
      paying members and persons associated with the OMC and its
      affiliates to provide protection for both real and sham drug deals.

(See Doc. 93 in Case No. 2:12-CR-18-RWS-JCF at 2-3).

      On October 3, 2012, Defendant filed the pending motion to suppress (Doc.

64), seeking to suppress evidence seized by FBI agents from his residence on

August 16, 2012. The Court conducted a hearing on Defendant’s motion on

December 6, 2012 (see Doc. 93), and a transcript of the hearing was filed on

January 22, 2013 (Doc. 106).2 The Government filed a post-hearing brief on

February 6, 2013 (Doc. 116), and Defendant filed a post-hearing brief on February
2
 References to the transcript of the December 6, 2012 hearing are designated as
“Tr. __.”
                                         3
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 4 of 22




20, 2013 (Doc. 120). The Government did not file a reply brief. Therefore

briefing is complete, and the undersigned now considers the merits of Defendant’s

motion.

                                        Facts

      At the December 6, 2012 hearing, the Government presented the testimony

of FBI Special Agents Michael Greene, Robert Gibbs, and Mark Sewell.

Defendant presented the testimony of Wade King, Defendant’s father, and Carmen

Sheppard, Defendant’s sister.

      Agent Greene is an Assistant Team Leader for an FBI SWAT team. (Tr. 7).

The SWAT team participates in executing arrest warrants where the person to be

arrested is suspected of being violent or heavily armed. (Tr. 8). On August 16,

2012, Agent Greene and his SWAT team assisted in the execution of arrest

warrants related to the investigation of the Outlaw Motorcycle Club in Georgia.

(Tr. 8). Agent Sewell, the case agent, had advised Greene that he had been

working “a long-term investigation where [the FBI] had developed information,

obtained arrest warrants and search warrants for a number of people that were

members of the Outlaw Motorcycle Gang.” (Tr. 8, 26).

      On the morning of August 16, 2012, the SWAT team first went to the

Outlaw clubhouse in Atlanta to execute warrants. (Tr. 9). After leaving the

                                       4
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 5 of 22




clubhouse at approximately 5 a.m., the team traveled to Gordon, Georgia to

execute an arrest warrant on Defendant King at his residence. (Tr. 9-10). Agent

Sewell had previously conducted a briefing during which he gave the team

information about the charge against Defendant, i.e., obstruction of justice, where

Defendant lived, what he looked like, his criminal history, “and that he was

possibly armed, considered armed and dangerous,” and also told the team about the

type of objects to look for while they were making their arrests. (Tr. 10, 20, 26-

27). Agent Greene explained that Defendant was considered armed and dangerous

“based [on the FBI] investigation . . . into the Outlaw Motorcycle Gang where

violence and intimidation has been used in the past, usually they are armed[.]” (Tr.

26-27).

      When the team arrived at Defendant’s residence, sometime between 6 a.m.

and 7 a.m., they spoke with agents from the Macon office who were already at the

location. (Tr. 10, 47-48, 63-64). Three Macon agents, including Agents Gibbs,

Langdon, and Hull, had arrived earlier, between 5:30 a.m. and 6 a.m., to watch the

residence, and to arrest Defendant if he tried to leave. (Tr. 10-11, 28, 43-45). The

agents believed that Defendant was in the home because lights were on inside,

there was a vehicle parked in front of the residence, there was a light on in the

detached garage, and one of the garage doors was open. (Tr. 12-14, 29-30, 46-47,

                                         5
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 6 of 22




60-61). The Macon agents advised Greene that they had not seen anyone leave the

residence, and they believed Defendant was still there. (Tr. 11, 29, 48). Although

the agents had also been told that Defendant had a motorcycle, they did not

observe it at the location. (Tr. 12, 30-31, 47, 62).

      Once the SWAT team arrived, their task was to effectuate the arrest warrant

while the Macon agents maintained a perimeter to prevent Defendant’s escape if

necessary. (Tr. 11, 49). The SWAT team used a battering ram to open a side

entrance, and threw in flash-bang devices to create a diversion while they entered

to make the arrest.3 (Tr. 14-15, 32). Approximately 10 members of the team

entered the residence to secure it and to look for Defendant, while a couple other

members remained outside. (Tr. 15-16). They were in the residence for no more

than five minutes. (Tr. 32-33, 49, 64). They searched all places where a human

could hide, including cabinets, closets, under the bed, behind couches, etc. (Tr.
3
 It is not clear from the testimony whether agents complied with 18 U.S.C. § 3109,
which, consistent with the Fourth Amendment, requires that “law enforcement
officers [executing search and arrest warrants] must announce their presence and
provide residents an opportunity to open the door,” Hudson v. Michigan, 547 U.S.
596, 589 (2006), prior to breaking down a door to enter a house. Even if the agents
had announced their presence, it would not have mattered in this case since
Defendant was not home. Furthermore, Defendant makes no argument that agents
violated the “knock-and-announce” requirement, and even if he had, “[a] failure to
comply with the knock-and-announce requirement embodied in the Fourth
Amendment does not trigger the exclusionary rule.” United States v. Cole, No.
1:09-CR-0412-ODE-RGV, 2010 U.S. Dist. LEXIS 82822, at *73 (N.D. Ga. Aug.
11, 2010), adopted by 2010 U.S. Dist. LEXIS 82737 (N.D. Ga. May 12, 2010).
                                           6
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 7 of 22




16). They did not search areas too small for a human to hide, such as drawers or

file cabinets. (Tr. 16-17, 39). These efforts did not result in Defendant, or anyone

else, being located in the house. (Tr. 16).

      Agent Greene had experience with or knowledge of motorcycle clubs in

general, including the Outlaw Motorcycle Club and “the paraphernalia or symbols

that members of the Outlaw Motorcycle Club in particular would display[.]” (Tr.

17). In clearing Defendant’s residence, Greene saw a gym bag in the kitchen with

a picture of a hand holding a gun and the phrase “Support your local Outlaws” on

it. (Tr. 17-19; see also Gov’t Ex. 11). In the master bedroom, Greene observed

other objects with Outlaw indicia, including rings, a patch, and a belt buckle. (Tr.

19-21; see also Gov’t Exs. 7-9).

      Agent Greene then contacted Agent Sewell and told him what he had seen in

the house, and asked Sewell if he wanted the agents to seize the items described

above. (Tr. 22). Sewell responded that he wanted the items seized, but he had

another assignment for Greene’s team in a different location, so they decided to

have the Macon agents photograph and seize those items. (Tr. 22-23, 70-71).

Agent Sewell believed the Outlaw paraphernalia to be relevant to the charge of

obstruction against Defendant. (Tr. 70-71). Sewell explained at the hearing, that

the items “tie Mr. King to the Outlaw Motorcycle Club, which was the basis for the

                                          7
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 8 of 22




complaint on July 19th. That he was acting in his capacity as a member of the club

when he shut down another club associated with the Outlaw(s) [sic].” (Tr. 73).

      Agent Greene advised the Macon agents the house was clear, that Defendant

was not present, and that the Macon agents needed to photograph the items to be

seized and then seize them. (Tr. 23, 49-51). Greene took one of the Macon agents

through the house to point out the objects he had previously seen that were to be

seized, i.e., the gym bag in the kitchen and objects on the dresser in the master

bedroom. (Tr. 23, 50, 65). Greene then left the house to brief his team about their

next assignment, when one of the Macon agents told him there was a pistol in the

master bedroom. (Tr. 24). Greene had not seen the pistol when he was in the

house to clear it. (Tr. 24). Greene went back into the master bedroom, and the

agents showed him where the pistol, which was in a mini holster on an open shelf

on the nightstand, was located. (Tr. 24-25; see also Gov’t Ex. 3). One of the

agents contacted Agent Sewell, who instructed the agent to seize the pistol because

Sewell “knew that Mr. King had been alleged to carry a pistol on July 19th when he

confronted the informant and shut down the clubhouse,” so he believed the pistol

to be relevant to the case. (Tr. 70). Greene and his team then left the residence to

go to their next assignment, leaving the Macon agents at the residence. (Tr. 25).




                                         8
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 9 of 22




      The Macon agents entered the residence at approximately 7:15 a.m. and

seized the items that had been previously identified, including a “Support Your

Local Outlaws” drink holder, patch, belt buckle, and rings from the dresser in the

master bedroom, the gun on the nightstand, the gym bag in the kitchen (Tr. 51, 56-

57, 64-67; see also Gov’t Exs. 3, 9, 11). The Macon agents did not open any

drawers. (Tr. 51-52). They took photographs of the items to be seized and also

took exit photographs to “show the residence as it was when [they] left it.” (Tr.

52). The agents left the residence at approximately 7:40 a.m. (Tr. 64-65).

      Wade King, Defendant’s father, went to Defendant’s house later that

morning and met with Defendant. (Tr. 74-75). Mr. King observed that there were

clothes on the laundry room floor, which he thought was unusual; the sectional

sofa was moved out from the wall and taken apart; the television was pulled out

from the wall; filing cabinets were moved from the wall, and the drawers were

ajar; the bed had been moved; and the kitchen cabinets were open. (Tr. 77-81, 83).

                                    Discussion

      Defendant argues that the items seized from his house on August 16, 2012

should be suppressed because they were seized in violation of the Fourth

Amendment, i.e., Government agents did not reasonably believe Defendant was

home when they entered his residence to execute the arrest warrant, and therefore

                                        9
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 10 of 22




were not authorized to be present in the place where they viewed the items at issue.

(See Doc. 120, Def. Br. at 1, 4).      Furthermore, Defendant argues the agents

“improperly expanded the scope of the search incident to arrest warrant to include

a warrantless search of [his] home.” (Id. at 1). The Government argues that the

challenged seizure was proper because the agents were authorized to enter

Defendant’s residence to execute the search warrant, and were then authorized to

seize incriminating evidence in “plain view” of the seizing agents. (Doc. 116,

Gov’t Br. at 5-10).

      The Fourth Amendment provides that “[t]he right of the people to be secure

in their persons, houses, papers, and effects, against unreasonable searches and

seizures, shall not be violated, and no Warrants shall issue, but upon probable

cause . . . .” U.S. Const. amend. IV. “Under the Fourth Amendment, searches and

seizures inside a home without a warrant are presumptively unreasonable.” United

States v. Davis, 313 F.3d 1300, 1302 (11th Cir. 2002) (internal quotation omitted).

Where a seizure is made without a warrant, as in this case (see Tr. 17), the burden

is on the government to “demonstrate that the challenged action falls within one of

the recognized exceptions to the warrant requirement, thereby rendering it

reasonable within the meaning of the fourth amendment.” United States v. Freire,




                                        10
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 11 of 22




710 F.2d 1515, 1519 (11th Cir. 1983). The exception relied on by the Government

here is the “plain view doctrine.”

      “The ‘plain view’ doctrine permits a warrantless seizure where (1) an officer

is lawfully located in the place from which the seized object could be plainly

viewed and must have a lawful right of access to the object itself; and (2) the

incriminating character of the item is immediately apparent.” United States v.

Smith, 459 F.3d 1276, 1290 (11th Cir. 2006).

      The undersigned finds that the Government has met its burden to prove that

the seizure of the Outlaw Motorcycle Club-related items (from the master bedroom

dresser and in the kitchen) and the pistol (from the nightstand) did not violate the

Fourth Amendment.

      In the first place, the agents were authorized to enter Defendant’s residence

to arrest him pursuant to an arrest warrant. “For Fourth Amendment purposes, an

arrest warrant founded on probable cause implicitly carries with it the limited

authority to enter a dwelling in which the suspect lives when there is reason to

believe the suspect is within.” Payton v. New York, 445 U.S. 573, 603 (1980).

“Payton thus requires a two-part inquiry: first, there must be a reasonable belief

that the location to be searched is the suspect’s dwelling, and second, the police

must ‘have reason to believe’ that the suspect is within the dwelling.” United

                                        11
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 12 of 22




States v. Magluta, 44 F.3d 1530, 1533 (11th Cir. 1995). “[I]n order for law

enforcement officials to enter a residence to execute an arrest warrant for a resident

of the premises, the facts and circumstances within the knowledge of the law

enforcement agents, when viewed in the totality, must warrant a reasonable belief

that the location to be searched is the suspect’s dwelling, and that the suspect is

within the residence at the time of entry.” Id. at 1535.

      As an initial matter, Defendant does not contest that the agents had a

reasonable belief that the residence where they sought to arrest Defendant was his

residence. The critical issue here is whether the agents reasonably believed that

Defendant was present in his residence. The undersigned finds that the agents’

belief was reasonable, given the totality of the circumstances, including: they were

at his residence early in the morning when one would expect a person to be home;

no one was observed leaving the residence; a vehicle was parked outside; and a

light was on inside the home. See, e.g. United States v. Bervaldi, 226 F.3d 1256,

1267 (11th Cir. 2000) (finding that “[i]t was reasonable to believe, in the absence

of contrary evidence, that [the defendant] would be at his residence at 6:00 in the

morning,” and noting that “[t]he fact that vehicles were parked at the residence

only buttresses the belief that persons were at the house, including presumably [the

defendant]”); United States v. Beck, 729 F.2d 1329, 1331-32 (11th Cir. 1984)

                                         12
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 13 of 22




(finding that agents reasonably believed that the defendant was at home at the time

of entry into his apartment in light of the fact that the defendant’s vehicle was

parked nearby, and “it was reasonable to believe that one would be at home at 7:30

a.m. and be sound asleep”).

      Defendant argues, however, that their belief was not reasonable because the

agents knew that he rode a motorcycle, but they did not see a motorcycle present,

and because they did not know if he could have already gone to work. (See Doc.

120, Def. Br. at 6-7). These facts are not determinative. “Neither Payton nor this

court’s Fourth Amendment jurisprudence requires law enforcement officers to be

absolutely certain that a suspect is at home before entering a residence to execute

an arrest warrant.” Magluta, 44 F.3d at 1538. The circumstances described above

were sufficient to support the agents’ reasonable belief that Defendant was inside

his residence when they entered it to arrest him.

      Once inside the home, the agents were authorized “to engage in a protective

sweep of the premises” to look for Defendant, see Magluta, 44 F.3d at 1538, and

were authorized to look in any area in which he could have been hiding. See

Maryland v. Buie, 494 U.S. 325, 335 (1990) (explaining that a protective sweep is

limited to “a cursory inspection of those spaces where a person may be found”);




                                         13
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 14 of 22




see also Beck, 729 F.2d at 1332 (finding it reasonable for officers to look in closet

while searching for the arrestee because he “could hide in a closet”).

      Moreover, the agents “were free to seize any evidence they discovered in

plain view within the proper scope of the protective sweep.” United States v.

Tobin, 923 F.2d 1506, 1513 (11th Cir. 1991). Defendant argues that the agents

exceeded the permissible scope of their search for Defendant because agents

remained in his home longer than necessary to determine he was not there, and

“[t]here is evidence that this intrusion turned into a broader search.” (See Doc.

120, Def. Br. at 8-12). The undersigned disagrees. There is no evidence that the

agents searched any areas, such as drawers, where Defendant could not have

hidden.4 Instead, the SWAT team quickly moved through the house, spending no

more than five minutes looking only in areas where Defendant could have been

hiding.5 During their search for Defendant, they observed Outlaw paraphernalia in

plain view in the kitchen and in the master bedroom, and determined, in
4
  Although Defendant’s father testified that he observed file cabinet drawers ajar
about a half an inch (Tr. 82-83), there is no evidence that any agent opened those
drawers, or that any evidence that was seized was found in those drawers.
Defendant’s speculation that agents obtained information about where he worked
from those file cabinets (see Doc. 120, Def. Br. at 11) is insufficient to show that
the agents did so.
5
  Defendant asserts that the SWAT team “was in Mr. King’s house for nearly 40
minutes before bringing in the Macon agents,” but the uncontroverted testimony is
that the sweep took no more than five minutes (see Tr. 32-33, 49, 64), and Agent
Greene testified he was in the house no more than 10 minutes (Tr. 41).
                                         14
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 15 of 22




consultation with the case agent, Agent Sewell, that the items were incriminating

and should be seized. Moreover, while effectuating the seizure of those items, an

agent observed a gun in plain view on a nightstand shelf.6 Again, in consultation

with Agent Sewell, the agents determined that the gun was incriminating and

should be seized. There is no evidence that the agents impermissibly expanded the

scope of their search for Defendant in order to search for evidence in places

Defendant could not have been hiding, nor is there evidence that the items they

observed were found in such places. See, e.g., United States v. Weeks, 666 F.

Supp. 2d 1354, 1373 (N.D. Ga. 2009) (“Here, the agents were lawfully conducting

a protective sweep of an area of the bedroom where Weeks could have been

hiding, and the ammunition was not located under the mattress, but was found in

plain view in an open drawer of a night stand,” and therefore, “Inspector Warren




6
  Defendant asserts that “Agent Greene admitted that he did not see the pistol that
was found. Some other unknown agent found the weapon at sometime after it was
clear that Mr. King was not there,” and therefore, “[t]he Government has not met
its burden to demonstrate that the pistol was in plain view of someone that was
lawfully inside Mr. King’s home.” (Doc. 120, Def. Br. at 12). The undersigned
disagrees. Agent Greene testified that, although he had not seen the pistol when he
was in the house looking for Defendant, one of the Macon agents who was in the
house securing the evidence to be seized told him there was a pistol in the master
bedroom. (Tr. 24). Greene went back into the master bedroom, and the agents
showed him where the pistol, which was in a mini holster in plain view on an open
shelf on the nightstand, had been found. (Tr. 24-25; see also Gov’t Ex. 3).
                                        15
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 16 of 22




was justified in seizing the ammunition.”), adopted by 666 F. Supp. 2d 1354, 1358

(N.D. Ga. 2009).

      Nor did the agents impermissibly expand the scope of the search by entering

the residence to photograph and seize the evidence observed during their search for

Defendant. See, e.g., United States v. Varner, 481 F.3d 569, 573 (8th Cir. 2007)

(finding that officer was authorized to reenter residence to seize evidence

previously observed in plain view a few minutes earlier, and was authorized to

seize additional evidence observed after he reentered the residence); United States

v. Hill, No. 11-CR-0015 (DWF/LIB), 2011 U.S. Dist. LEXIS 42410, at *26-27 (D.

Minn. Mar. 31, 2011) (finding that officers were authorized to reenter residence to

photograph blood stains previously observed in plain view, noting that courts

generally “consider the subsequent re-entry in order to actually collect the evidence

to be a continuation of the original entry,” so long as the scope of the initial

invasion is not expanded, and explaining “it would have been unreasonable to

expect the officers to take the photographs during their first entry into the

Defendant’s home because the officers were preoccupied with finding [a person

believed to] be in physical danger”), adopted by 2011 U.S. Dist. LEXIS 42464 (D.

Minn. Apr. 19, 2011).      The undersigned finds that in this case, it was not

unreasonable for the SWAT team members to complete their search for Defendant

                                         16
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 17 of 22




before allowing the Macon agents to photograph and seize the evidence observed

in plain view, rather than immediately seizing the evidence while they searched for

Defendant. The Macon agents’ entry into the house was simply a continuation of

the original entry; they did not expand the scope of the original invasion.

      Finally, although Defendant does not appear to challenge the Government’s

assertions about the incriminating nature of the seized items directly (see Doc. 116,

Gov’t Br. at 9-10), Defendant does assert that the seized property was “not itself

contraband.” (Doc. 120, Def. Br. at 12). “[T]he scope of the ‘plain view’ doctrine

extends to the seizure of items that, while not contraband themselves, may be used

as evidence against a defendant.” United States v. Smith, 459 F.3d 1276, 1293

(11th Cir. 2006). In Texas v. Brown, 460 U.S. 730 (1983), the Supreme Court

reiterated that the standard for determining whether an officer can seize an item in

plain view without a warrant is as follows: “the seizure of property in plain view

involves no invasion of privacy and is presumptively reasonable, assuming that

there is probable cause to associate the property with criminal activity.” Id. at 741-

42 (internal quotation omitted); see also United States v. Edwards, No. 1:10-CR-

132-RWS/AJB, 2010 U.S. Dist. LEXIS 132690, at *22 (N.D. Ga. Oct. 13, 2010)

(“Probable cause to seize an item in plain view exists whenever the facts available

to the searching officer support a reasonable belief that the item may be

                                         17
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 18 of 22




contraband, stolen property, or evidence of a crime” (citing Brown, 460 U.S. at

742)), adopted by 2010 U.S. Dist. LEXIS 132711 (N.D. Ga. Dec. 15, 2010). The

Court in Brown further explained:

      [P]robable cause is a flexible, common sense standard. It merely
      requires that the facts available to the officer would “warrant a man of
      reasonable caution in the belief,” Carroll v. United States, 267 U.S.
      132, 162 (1925), that certain items may be contraband or stolen
      property or useful as evidence of a crime; it does not demand any
      showing that such a belief be correct or more likely true than false. A
      “practical, nontechnical” probability that incriminating evidence is
      involved is all that is required. Brinegar v. United States, 338 U.S.
      160, 176 (1949).

460 U.S. at 742. In determining whether there is “probable cause to associate

property with criminal activity,” the court considers the totality of the

circumstances, including the searching officer or agent’s training, experience,

observations, inferences drawn from those observations, and the nature of the

investigation at issue. See, e.g., Brown, 460 U.S. at 742-43 (finding that officer

had probable cause to believe that balloons contained illicit substances based on

the officer’s experience with narcotics cases, discussions with other officers, and

the officer’s observations of other nearby items); Smith, 459 F.3d at 1291-93

(upholding the seizure of photographs of girls who appeared to be younger than 18

based on the seizing officers’ inference that the photographs depicted girls younger

than 18, regardless of whether they were correct in their assessment, because in

                                        18
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 19 of 22




determining whether probable cause exists, the court “give[s] weight to the

inferences that law enforcement agents draw from the facts”); Edwards, 2010 U.S.

Dist. LEXIS 132690, at *25-26 (finding that officers properly seized a document

containing names and telephone numbers under the plain view doctrine based on

the nature of the investigation into narcotics trafficking, and noting that personal

telephone directories have been found admissible in narcotics trials as “tools of the

trade”).

      Given the totality of the circumstances collectively known by the agents, the

undersigned finds that they had “probable cause to associate the [seized items]

with criminal activity.”   Brown, 460 U.S. at 741-42.       The SWAT team who

conducted the sweep of the residence had been briefed by the case agent, Agent

Sewell, about the FBI’s investigation of the Outlaw Motorcycle Club, and had

information that Defendant was a member of that club; they had been advised by

Agent Sewell to be on the lookout for items related to the Outlaw Motorcycle

Club; they had participated in the execution of warrants at the Outlaw clubhouse

just before they went to Defendant’s residence; and they were informed of the

charge against Defendant for allegedly obstructing the FBI’s investigation into the

Outlaw Motorcycle Club. Agent Sewell explained that he directed the agents to

seize the pistol because he “knew that Mr. King had been alleged to carry a pistol

                                         19
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 20 of 22




on July 19th when he confronted the informant and shut down the clubhouse” (Tr.

70), an allegation that supports the charge against Defendant.

      Similarly, the Outlaw-related items connect Defendant to a motorcycle club

whose members were under investigation by the FBI, an investigation Defendant

and other club members are charged with obstructing. Accordingly, the Outlaw-

related items could be relevant to explain how Defendant knows the other

defendants charged in this and other indictments; relevant to how he knew about

the investigation at issue; and relevant to a possible motive for allegedly

obstructing the investigation. On this point, it is worth noting that multiple cases

have concluded that evidence tending to show a connection with a group suspected

of criminal activity may be considered incriminating. See, e.g., Messerschmidt v.

Millender, 132 S. Ct. 1235, 1247 (2012) (rejecting the defendant’s argument that

“no reasonable officer could have believed that the affidavit presented to the

magistrate contained sufficient basis to conclude that the gang paraphernalia

sought was contraband or evidence of a crime” because it would not have been

unreasonable “for an officer to believe that evidence regarding [the defendant’s]

gang affiliation would prove helpful in prosecuting him,” e.g., to help establish

motive for the attack being investigated, to impeach the defendant, or to rebut his

defenses); United States v. Wright, 343 F.3d 849, 853, 863 (6th Cir. 2003) (finding

                                         20
    Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 21 of 22




that officers were authorized to seize items not explicitly listed in a search warrant,

including a leather motorcycle vest which was “evidence of Wright’s involvement

with the Avenger’s motorcycle club,” because such evidence “indicated Wright’s

involvement in the drug conspiracy” conducted through the Avengers, and his

involvement in the murder of another member of the Avengers); United States v.

Apker, 705 F.2d 293, 298 (8th Cir. 1983) (explaining that, in a case involving a

conspiracy to distribute methamphetamine, proof of association through

membership in an organization is admissible in a conspiracy trial to show the

association of defendants with each other, and finding that evidence of Hells

Angels membership “would help prove their opportunity to use the Hells Angels

organization for criminal activities”).7

      Because the Government has shown that the seizure of the items from

Defendant’s residence on August 16, 2012 did not violate the Fourth Amendment,

it is RECOMMENDED that Defendant King’s motion to suppress be DENIED.

                                      Summary

      For the foregoing reasons, it is RECOMMENDED that Defendant King’s

motion to suppress evidence (Doc. 64) be DENIED.
7
  The undersigned acknowledges that Millender, Wright, and Apker involve
seizures of evidence pursuant to search warrants. They are cited, however, solely
as support for the proposition that evidence that tends to reflect membership in a
gang or club can constitute incriminating evidence.
                                           21
   Case 2:12-cr-00028-RWS-JCF Document 125 Filed 03/22/13 Page 22 of 22




     IT IS SO REPORTED AND RECOMMENDED this                    22nd      day of

March, 2013.

                                         /s/ J. CLAY FULLER
                                        J. CLAY FULLER
                                        United States Magistrate Judge




                                   22
